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                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                        :         CRIMINAL NO. 17 - 51

                v.                              :         DATE FILED: February 13, 2017

THOMAS E. HUGHSTED                          :



                GOVERNMENT'S MOTION FOR PRETRIAL DETENTION

       After being convicted for travelling to another state for the purpose of having sex with a

minor, the defendant, Thomas E. Hughsted, a registered sex offender, is facing criminal charges

once again for conduct involving the sexual exploitation of children. On January 26, 2017,

Hughsted was indicted on one count each of receipt of child pornography, in violation of 18 U.S.C.

§ 2252(a)(2), distribution of child pornography, in violation of 18 U.S.C. § 2252(a)(2), and

possession of child pornography, in violation of 18 U.S.C. § 2252(a)(4)(B). Due to his prior

sexual abuse conviction, if convicted, the defendant faces a 15-year mandatory minimum sentence

under 18 U.S.C. §2252(b)(1).

       Pursuant to 18 U.S.C. §3142(e)(3)(E), a rebuttable presumption exists that “no condition

or combination of conditions will reasonably assure the appearance of the person as required and

the safety of the community if the judicial officer finds that there is probable cause to believe

that the person committed… 2252(a)(2)[ receipt/distribution of child pornography]… .” There

exists probable cause in this case to find the defendant violated this section of Title 18.

       Because the strength of evidence in this instant case makes a conviction likely, the

defendant is a flight risk. Moreover, Hughsted’s now repeated sexual behavior toward children


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and his inability to abide by prior court supervision conditions which restricted his use of the

internet, make him a threat to the safety of the community. Because no condition or combination

of conditions will reasonably assure the defendant's appearance as required and/or the safety of the

community, the government now moves pursuant to 18 U.S.C. '' 3142(e) and (f) for a detention

hearing and pretrial detention of the defendant.

       I.      PROCEDURAL HISTORY

       On January 26, 2017, Thomas E. Hughsted was indicted on one count of receipt of child

pornography, in violation of 18 U.S.C. § 2252(a)(2), one count of distribution of child

pornography, in violation of 18 U.S.C. § 2252(a)(2), and one count of possession of child

pornography, in violation of 18 U.S.C. § 2252(a)(4). At the time of the indictment, the defendant

had already been arrested and detained by the City of Philadelphia for the same underlining

conduct. The defendant has since been transferred into federal custody.


       On February 2, 2017, Hughsted had his initial appearance in the Eastern District of

Pennsylvania and the Federal Defenders Office was appointed.           His detention hearing was

scheduled for Monday, February 6, 2017 in front of the Honorable Judge Linda Caracappa. At

that hearing, defense counsel indicated he wanted to bring in witnesses who were currently

unavailable. As a result, Judge Caracappa continued this case for one week, until February 13,

2017, to permit the defendant additional time to prepare.




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II.      ARGUMENT

         In support of this motion, the government makes the following representations and

proposed findings of fact:

         A.     Probable Cause and the Nature and Circumstances of the Case

         There is probable cause to believe that the defendant has violated Title 18, United States

Code, Sections 2252(a)(2). Since this is a case which charges the defendant with offenses under

2252(a)(2) of Title 18, there is a rebuttable presumption that no condition or combination of

conditions will reasonably assure the appearance of the person as required and the safety of the

community as outlined under 18 U.S.C. § 3142(e)(3)(E). The nature and circumstances of the

offense charged and the weight of the evidence against the defendant, which are appropriate factors

for the detention court’s consideration under Title 18, United States Code, Section 3142(g), also

support detention here. The evidence in this case is strong and the likelihood of conviction is

great.

         There is probable cause to conclude that the defendant violated Title 18, United States

Code Sections 2252(a)(2), that is the receipt and distribution of child pornography, based on the

following:

                a. This investigation started as a result of a cybertip reporting that an online user

                    had shared an image of pre-pubescent boys engaging in sexual activity in a

                    chatroom. The cybertip provided information on the shared image and the

                    Internet Protocol (IP) address associated with the user.

                b. The investigation showed that the online user was accessing the internet using

                    an account which traced back to the defendant, Thomas Hughsted at 6800

                    Henry Avenue, Philadelphia, PA. The evidence showed that the defendant had

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                  switched residences during the period of the investigation and had moved into

                  an apartment on Lyceum Avenue in Philadelphia. As a result, Philadelphia

                  Special Victims Unit executed a search warrant for electronics located in the

                  defendant’s new apartment. Hughsted was found him to be living alone in that

                  residence.

              c. The FBI then executed its own search warrant to review the electronics seized

                  from the defendant’s apartment.      The forensic evidence seized from the

                  defendant’s residence confirmed that the defendant’s laptop and cell phone had

                  contained child pornography.

       B.     Criminal Record and Danger to the Community

       In addition to the substantial evidence against the defendant, the government submits that

his prior sex abuse record and repeated violations of supervision show, by clear and convincing

evidence, that there is no combination of conditions which could protect the community from the

defendant’s unlawful acts.

       The defendant is a registered sex offender as a result of a 2009 New Hampshire conviction

for attempting to have sex with a minor. In 2009, the defendant was arrested by New Hampshire

after he traveled from Philadelphia to Keene, NH, to meet a person he believed to be a child for

the purposes of sex. Instead, he met an undercover police detective. He was convicted of one

count of Certain Uses of Computer Services Prohibited, in violation of N.H. Stat. 649-B:4, for

using a computer in order to solicit a person he believed to be a child for sex, and one count of

Attempted Felonious Sexual Assault, in violation of N.H. Stats. 629:1 and 632-A:3. He was

sentenced to 12 months of incarceration, but, because he would not stop using the internet for



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impermissible reasons while on supervision, the defendant was sentenced to more jail (a sum total

of 14 months) due to the continuous violations of his release.

       In 2012, the defendant pled guilty to failure of duty to report, as required by the New

Hampshire Sex Offender Registry, for failing to disclose his online identities.

       His criminal record and his instant alleged offense show that he is a danger to the

community, and specifically to children. His prior failures to abide by court-imposed restrictions

in his past, especially his inability to use a computer/internet as permitted, is especially compelling

here since he is now accused of using the computer to violate federal law. His criminal past

provide clear and convincing reasons to detain him.

       C.      Maximum Penalties

       The total maximum penalty that the defendant faces is a maximum of 100 years of

imprisonment, a mandatory minimum term of 15 years, a minimum 5-year term up to lifetime of

supervised release, a $750,000 dollar fine, mandatory restitution, and a $300 special assessment.

       Under the Sentencing Guidelines, the defendant is expected to face a sentencing range of

188 to 235 months.

       The sentencing exposure, coupled with the strength of evidence, provide incentive for the

defendant to flee.

II.    CONCLUSION

       The defendant’s prior conviction for sexual abuse and his history of violations of

supervision show that he is a danger to the community. The strength of the evidence and the

applicable mandatory minimum provide reasons to believe that the defendant is a flight risk.

When all of these factors are viewed in light of the substantial sentence facing the defendant if



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convicted, it is clear that no condition or combination of conditions will reasonably assure the

presence of the defendant as required and/or the safety of the community.

       WHEREFORE, the government respectfully submits that its Motion for Defendant's

Pretrial Detention should be granted.

                                            Respectfully submitted,

                                            LOUIS D. LAPPEN
                                            Acting United States Attorney



                                            s/ Priya T. De Souza
                                            PRIYA T. DE SOUZA
                                            Assistant United States Attorney




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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      :     CR. NO. 17 - 51

               v.                             :     DATE FILED: February 13, 2017

THOMAS E. HUGHSTED                        :



                             PRETRIAL DETENTION ORDER

              AND NOW, this           day of                     , 2017, after an evidentiary

hearing and argument of counsel for the government and the defendant, the Court finds that:

              (a)     the government has proven that no condition or combination of conditions

                      will reasonably assure the appearance of the defendant as required; and

              (b)     the government has proved by clear and convincing evidence that no

                      condition or combination of conditions will reasonably assure the safety of

                      other persons and the community, as required by Title 18, United States

                      Code, Section 3142(e).

The Court makes the following findings of fact:

   1. The grand jury found probable cause to believe that the defendant has violated Title 18,

       United States Code, Sections 2252(a)(2) and 2252(a)(4) as charged in the grand jury

       Indictment filed on January 26, 2017.

   2. This Court also finds probable cause to believe that the defendant in particular has

       violated Title 18 United States Code Section 2242(a)(2), which results in a rebuttable

       presumption that he no condition or combination of conditions will reasonably assure his
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   appearance as required and the safety of the community, under 18 U.S.C. §

   3142(a)(3)(E).

3. The forensic evidence in this case of receipt, distribution, and possession of child

   pornography is strong.

       a. This investigation started as a result of a cybertip reporting that an online user had

           shared an image of pre-pubescent boys engaging in sexual activity in a chatroom.

           The cybertip provided information on the shared image and the IP address

           associated with the user.

       b. The investigation showed that the online user was accessing the internet using an

           account which traced back to the defendant, Thomas Hughsted. As a result,

           Philadelphia Special Victims Unit executed a search warrant on the defendant’s

           residence, where he lived alone.

       c. The FBI then executed its own search warrant to review the electronics seized from

           the defendant’s apartment. The forensic evidence seized from the defendant’s

           residence confirmed that the defendant’s laptop and cell phone had contained child

           pornography.

4. The government’s burden of clear and convincing evidence showing that no condition or

   combination of conditions will reasonably assure the safety of other persons and the

   community, as required by Title 18 United States Code Section 3142(e), is met by the

   evidence of the defendant’s prior sexual abuse conviction in New Hampshire and by the

   defendant repeatedly violating the terms of supervision imposed by that prior conviction.
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       Therefore, IT IS ORDERED that the defendant be committed to the custody of the Attorney

General for confinement in a correction facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal; that the defendant be

afforded reasonable opportunity for private consultation with counsel; and that, on order of a Court

of the United States, or on request of an attorney for the government, the person in charge

of the corrections facility in which the defendant is confined deliver the defendant to a United

States Marshal for the purpose of an appearance in connection with a court proceeding.

                                              BY THE COURT:




                                              TIMOTHY R. RICE
                                              United States Magistrate Judge
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                               CERTIFICATE OF SERVICE

              I certify that a copy of the Government's Motion for Pretrial Detention, and

Proposed Order was served by email, on the following defense counsel:

                             Stuart Pachen, Esquire
                             Federal Community Defender Office for
                             The Eastern District of Pennsylvania
                             The Curtis Center - Suite 540 West
                             601 Walnut Street
                             Philadelphia, PA 19106




                                                   /s/ Priya T. De Souza
                                                   PRIYA T. DE SOUZA
                                                   Assistant United States Attorney


Date: February 13, 2017
